    Case 4:21-cv-00284-ALM-CAN Document 18-1 Filed 04/30/21 Page 1 of 2 PageID #: 392

                                                             EXHIBIT A

From:                          Redwine, BeLinda S.
Sent:                          Thursday, April 29, 2021 10:47 AM
To:                            Judy Brown
Cc:                            Higgins, Kristin Snyder; Ashton, Jamie B.; Denny, Barbara J.
Subject:                       Civil Action No. 4:21-cv-284
Attachments:                   15 - Emergency Motion for Protective Order.pdf; 15-1 - Exhibit 1 to Emergency Motion for Protective
                               Order.pdf; 15-2 - Exhibit 2 to Emergency Motion for Protective Order.pdf; 15-3 - Exhibit 3 to
                               Emergency Motion for Protective Order.pdf; 15-4 - Exhibit 4 to Emergency Motion for Protective
                               Order.pdf; 15-5 - Exhibit 5 to Emergency Motion for Protective Order.pdf; 15-6 - Exhibit 6 to
                               Emergency Motion for Protective Order.pdf; 15-7 - Proposed Order Granting Motion for Protective
                               Order.pdf; 16 - Response to Plaintiff's Motion to the Court Regarding Plaintiff's Possession of HIPPA-
                               Sensitive Documents.pdf; 16-1 - Exhibit A to Response to Plaintiff's Motion to Court.pdf; 16-2 - Exhibit
                               B to Response to Plaintiff's Motion to Court.pdf; 16-3 - Exhibit C to Response to Plaintiff's Motion to
                               Court.pdf



On behalf of Kristin Higgins, please see file-marked copies of the attached, filed today in connection with the above-
referenced matter. Copies of same are also being sent via Certified Mail, Return Receipt Requested.

Thank you.


BeLinda S. Redwine | Practice Assistant | Ogletree, Deakins, Nash, Smoak & Stewart, P.C.
8117 Preston Road, Suite 500 | Dallas, TX 75225 | Telephone: 214-313-2903 | Fax: 214-987-3927
belinda.redwine@ogletree.com | www.ogletree.com




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                                       Kristin Snyder Higgins
                                       Ogletree Deakins                                                                                        5.86
                                       8117 Preston Road, suite 500
                                       Dallas, TX 75225                                                                Judy D. Brown
                                                                                                                       770 Fairway Drive, Apt. 1313
                                                                                                                       Coppell, TX 75019

                                       Kristin Snyder Higgins
                                       Ogletree Deakins
                                       8117 Preston Road, suite 500
                                       Dallas, TX 75225




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                                                                                                           RETURN RECEIPT (ELECTRONIC)




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